OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction



                                         UNITED STATES DISTRICT COURT
                                                                       for the

                                                        Western District of North Carolina

                     United States of America                            )
                                 v.                                      )
                                                                         )   Cas e No: 5:02CR5-8
                       Larry Darnell Robins on
                                                                         )   USM No: 17728-058
Date of Previous Judgment:           7/7/03                              )   Denzil Horace Forrester
(Use Date of Last Amended Judgment if Applicable)                        )   Defendant’s Attorney


                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of      the defendant  the Director of the Bureau of Prisons        the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been low ered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of                 months is reduced to                                               .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    31                   Amended Offense Level:                                       31
Criminal History Category: VI                   Criminal History Category:                                   VI
Previous Guideline Range:  188 to 235 months    Amended Guideline Range:                                     188       to 235   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is w ithin the amended guideline range.
 The previous term of imprisonment imposed w as less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   No reduction since the original guideline calculations w ere based on cocaine pow der, not cocaine
                     base. Additionally, the guidelines w ould not have changed even if the defendant was held responsible
                     for a quantity of crack cocaine as he w as originally sentenced as a career offender.



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment                         7/7/03             shall remain in effect.
IT IS SO ORDERED.

Order Date:          December 17, 2008


Effective Date:      December 17, 2008
                       (if different from order date)


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